Case: 1:16-cv-02440 Document #: 188 Filed: 01/09/18 Page 1 of 1 PageID #:2359

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Richard Golden, et al.
                                 Plaintiff,
v.                                                    Case No.: 1:16−cv−02440
                                                      Honorable Andrea R. Wood
Jang H. Lim
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 9, 2018:


       MINUTE entry before the Honorable Andrea R. Wood: Status hearing set for
1/10/2018 is stricken and reset for 1/31/2018 at 09:00 AM. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
